     Case: 1:14-mc-00547 Document #: 12 Filed: 10/09/15 Page 1 of 1 PageID #:67

                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

Date: 10/09/2015                             Case No. 14mc547

Case Title:                                   Judge: Maria Valdez
              United States of America v. The Twitter accounts @AhkTheBlackArab located at www.twitter.com/a

                                 NOTICE OF CORRECTION

The following error was found in document no. 11

       The document has been filed in the incorrect case.
       The document is filed in the correct case, but the case number and case title do not match.
       The incorrect document (PDF file) was linked to the entry
       The incorrect file date was entered.
       The incorrect type of event was used to describe the document.
       The title of the document does not match the text of the entry.
     ✔ The entry is a duplicate of entry no. 9
       Other:


Corrective action taken by the Clerk:

       The text of the entry has been edited and the PDF file has been replaced.
       The following notation has been added to the text of the entry: (Linked document has the
       incorrect case title or linked document has the incorrect case number.)
       The correct document (PDF file) has been linked to the entry.
       The file date has been corrected.
       The text of the entry has been edited.
     ✔ The text of the entry has been edited to read “Duplicate filing of document number.”
       Other:


Corrective action required by the filer:
      The document must be refiled.
      Other:




                                             Thomas G. Bruton, Clerk of Court
                                               Rosio Mendez
                                     By:     s/______________________________
                                             Deputy Clerk
NDIL (10/05) Notice of Correction
